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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,
 et al.,

         Plaintiffs,

         v.                                        CASE NO. 1:21-cv-00119 (RDM)

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

         Defendants.


      PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY AND EXHIBIT

       Plaintiffs respectfully request leave to file a consolidated sur-reply of no more than 30

pages to address new arguments, factual assertions, and mischaracterizations of Plaintiffs’

arguments raised by the Federal Defendants and Florida for the first time on reply, Dkt. 106, 107,

107-1. See Minute Order Jan. 31, 2023 (directing Plaintiffs to file a separate motion for leave to

file a sur-reply, if necessary, after the conclusion of briefing). There is good cause to grant this

relief so that Plaintiffs may respond to new matters raised in the opposing parties’ reply

memoranda. See Dkt. 3 at 4 (Standing Order at ¶ 8.c.); Edelman v. SEC, 239 F. Supp. 3d 45, 54

n.5 (D.D.C. 2017) (the decision to allow a sur-reply is withing the court’s discretion, and courts

routinely grant such motions to allow parties to contest matters first presented on reply); Doe v.

Exxon Mobil Corp., 69 F. Supp. 3d 75, 85 (D.D.C. 2014).

       In their reply, the Defendants resort to several new arguments, claims, and theories to try

to defend USFWS’ Biological Opinion (“BiOp”) and Incidental Take Statement (“ITS”), the

Corps’ retained waters list, and EPA’s approval of Florida’s program. Dkt. 106. Florida’s

separate reply raises new matters related to standing, ripeness and justiciability. Dkt. 107.



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       As to the BiOp, the Defendants now cite National Association of Home Builders v.

Defenders of Wildlife, 551 U.S. 644 (2007), to argue for the first time that compliance with the

plain language of the ESA would purportedly conflict with Clean Water Act assumption, Dkt.

106 at 44–45, and that the latter should trump the former. Although the Defendants previously

cited Home Builders, they did so for different propositions, namely whether there is a right to

comment on a BiOp and whether ESA consultation is required for a state agency’s permitting

decisions. See Dkt. 99 at 41, 67 n.19.

       Additionally, the Defendants originally argued that the BiOp did not consider the impact

on species of Florida’s general permits because Florida had purportedly not issued any general

permits for its 404 program. Dkt. 99 at 66. They now concede that the state 404 program

contains general permits but claim that those were not considered because they were not

promulgated under the Clean Water Act and therefore did not have to be considered. Dkt. 106 at

31. The Defendants also suggest for the first time that USFWS did not need to consider the

impact of Florida’s program on nesting sea turtles because development in state-assumed waters

near the coast would not likely harm that species, Dkt. 106 at 36, whereas previously they had

argued that the BiOp addressed impacts to all ESA-considered species, Dkt. 99 at 70.

       As to Plaintiffs’ challenge of the BiOp’s inadequate baseline analysis, the Defendants

originally argued that the baseline analysis was adequate because the BiOp adopted the

biological evaluation (“BE”). Dkt. 99 at 68–69. But the flaws Plaintiffs identified in the BiOp

apply equally to the BE, which was cut and pasted into the BiOp. Dkt. 98 at 38–39. Defendants

now claim that Plaintiffs only objected to their adoption of the BE, but that grossly

mischaracterizes Plaintiffs’ argument. Dkt. 106 at 34.




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       Moreover, the Defendants attempt to fill holes in their legal argument for the first time on

reply, belatedly attempting to distinguish Gerber v. Norton, 294 F.3d 173, 185 (D.C. Cir. 2002),

and National Wildlife Federation v. Brownlee, 402 F. Supp. 2d 1, 10–11 (D.D.C. 2005), which

Plaintiffs cited in their Motion for Summary Judgment, Dkt. 98 at 46 n.17, 47, but Defendants

failed to address until their reply brief. Dkt. 106 at 33–34, 42–43 n.22. Similarly, the

Defendants raise new arguments and cite new authority to urge the Court to ignore Conner v.

Burford, 848 F.2d 1441, 1455 (9th Cir. 1988). Dkt. 106 at 42–43. And, for the first time on

reply, the Defendants seek to defend Cooling Water Intake Structures v. EPA, 905 F.3d 49 (2d

Cir. 2018), on the merits and raise new and different arguments to claim the case is factually on

point with this case. Compare id. at 27–30 with Dkt. 99 at 74–76.

       As to the ITS, the Defendants argue for the first time that the ESA requirement to

reinitiate consultation when an ITS’ take limit is exceeded can be satisfied at the program level

with annual take reporting by the State (even though the ITS sets no take limit). Dkt. 106 at 39.

Previously, the Defendants only claimed compliance with this requirement on the permit (rather

than program) level, through permit monitoring and enforcement. Dkt. 99 at 79. The

Defendants also claim for the first time on reply that effectuating the transfer of the program

relieved the federal agencies of the duty to reinitiate consultation when new species are listed.

Dkt. 106 at 40. Previously, the Defendants relied solely on the technical assistance process for

individual permits and new general permits as standing in for the requirement to reinitiate

consultation when new species are listed. Dkt. 99 at 79–80.

       On reply, the Defendants also grossly mischaracterized Plaintiffs’ arguments regarding

EPA’s unlawful reliance on the facially invalid BiOp. Instead of disagreeing over the applicable

legal standard or the relevant holdings in case law as before, Dkt. 99 at 82–83 & n.27, the



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Defendants now claim that Plaintiffs omitted governing case law and cited no legal support for

their arguments, Dkt. 106 at 46–47, which is demonstrably false.

       As to the sufficiency of Florida’s program, the Defendants for the first time make a broad

assault against the Clean Water Act’s core tenet that the Act sets the minimum standards for all

states by arguing that state programs only have to be as stringent as to just four sections of the

Clean Water Act specifically enumerated in Section 404(h)(1). Dkt. 106 at 18. Originally, the

Defendants raised this specious argument only to defend EPA’s approval of a state program with

an inadequate mens rea standard. Dkt. 99 at 51. Now, they suggest that argument should apply

to any requirement of the Clean Water Act not specifically enumerated in 404(h)(1).

       Next, the Defendants raise a novel argument that the criminal intents set forth in 33

U.S.C. § 1319 do not constitute elements of a criminal offense but only determine penalties for

those offenses, contrary to the blackletter law that criminal intent is an element of a criminal

offense. Dkt. 106 at 17. But see Dkt. 99 at 50–54 (failing to make this statutory argument and

instead attempting to extend case law related to penalties to the separate question of criminal

intent and arguing that EPA has discretion to approve state programs with a higher mens rea than

the federal program because Congress did not demand equivalence as to intent).

       Regarding the state’s restrictive consideration of water quality impacts, the Defendants

now rely on a particular phrase (the “possibility of presence” of contamination) in one of the two

provisions Plaintiffs challenge, as well as testing requirements and general contamination

definitions, to claim the state program is as stringent as federal law. Dkt. 106 at 11–12. But

previously, the Defendants pointed to other provisions of the state program that are parallel to

other provisions of the federal program to claim sufficiency. Dkt. 99 at 48–49. Regarding the

state program’s reliance on an applicant’s “reasonable assurances,” the Defendants raise new



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arguments to defend their use of post-hoc rationalizations and rely on new arguments regarding

Friends of the Earth v. Hintz, 800 F.2d 822 (9th Cir. 1986); Crutchfield v. U.S. Army Corps of

Engineers, 214 F. Supp. 2d 593 (E.D. Va. 2002); and Defenders of Crooked Lake v. FDEP, No.

17-5328, 2018 WL 3387900 (Fla. Div. Admin. Hrgs., May 7, 2018). Dkt. 106 at 13–16.

       As to retained waters, the Defendants originally acknowledged that the Corps began a

navigability assessment in 2017 for purposes of developing Florida’s retained waters list (which

was consistent with the position the Corps had taken while serving on EPA’s Assumable Waters

Subcommittee (2015–2017), and that the Corps then took a different position in 2018. Dkt. 99 at

27–28 (stating that Corps directed cessation of navigability assessment and then announced

adoption of the Subcommittee’s “majority” position on retained waters in lieu of maintaining the

position expressed by the Corps on the Subcommittee). The Defendants also acknowledged that

the Corps’ 2017 Supplement to the Navigable Waters List was to be posted on the Corps’

website, id. at 27, (a fact on which Plaintiffs relied to demonstrate that the 2017 list was not, as

Defendants claimed, just an internal, private draft) but that, after July 2018, the Corps used only

the 2014 Navigable Waters List to develop Florida’s retained waters list, id. at 29, 59, 60, 62.

       On reply, however, the Defendants claim that the Corps never had a position on

assumable waters that it later changed, Dkt. 106 at 24–25, which they base on a strained, out-of-

context reading of the Assumable Waters Report. The Defendants also claim for the first time on

reply that the Corps considered the 2017 list in developing Florida’s retained waters list, id. at

27, even though their opening brief repeatedly states only that the Corps used the 2014 list, Dkt.

99 at 29, 59, 60, 62, and “refined” the 2014 list only to remove duplicates and “historic use

waters,” id. at 29. And the Defendants claim for the first time that the Corps considered all

public comments on Florida’s navigable waters, Dkt. 106 at 27, a claim not supported by



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anything in the record other than the mere presence of those comments, and that Plaintiffs have

not “identified any flaws” in the retained waters list, id. at 27 & n.11, a claim that is flatly

contradicted by the record. The Defendants also suggest that the Corps did not publish its 2017

list to its public website, id. at 26 & n.10, even though Plaintiffs accessed the list

contemporaneously on the Corps’ public website.

        To rebut factual inaccuracies on some of these new claims, Plaintiffs also respectfully

move the Court to consider the attached EPA email which Plaintiffs obtained through FOIA, and

which demonstrates that in 2018 the Corps in fact was proceeding with a navigability assessment

consistent with its position on the Assumable Waters Subcommittee (until it reversed course),

and that the Corps had published the 2017 list to its website at the time. 1 Plaintiffs request leave

to submit the email as an exhibit to their sur-reply.

        Florida similarly raises new claims and arguments for the first time on reply, as to the

issues of standing, ripeness, and justiciability. Florida also attaches a new declaration replete

with new, conclusory assertions that are either not supported by, or are refuted by, the record.

For example, as to organizational standing based on information loss, Florida claims for the first

time that Troyer Mine likely would not have required an EIS under the Corps program. Dkt. 107

at 13–14. But Florida’s cross-motion/response memorandum did not mention Troyer—a major

project threatening the Florida panther on which Plaintiffs have long relied to demonstrate




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 Although offered for the purpose of rebuttal, Plaintiffs submit that the Court may also grant
their request under the standard for completing the administrative record, as this document was
created by and known to EPA, directly relates to the retained waters determination, and is
adverse to the position now taken. Bazzi v. Gacki, No. 19-CV-484 (RDM), 2020 WL 5653599,
at *5 (D.D.C. Sept. 23, 2020). To the extent EPA may claim that it did not consider this internal
email, Plaintiffs submit that the Court may consider it as extra-record evidence. Ctr. for
Biological Diversity v. U.S. Army Corps of Eng’rs, No. 20-CV-103 (RDM), 2020 WL 5642287,
at *9 (D.D.C. Sept. 22, 2020).
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standing—at all. Florida also newly suggests that disclosure of information under NEPA and the

ESA is not “private information,” the loss of which may constitute intangible harms. Id. at 13.

Previously, Florida’s arguments were about whether Plaintiffs, in fact, were deprived of this

information. Dkt. 102 at 39–40. Florida also introduces two entirely new arguments based on

recent legal developments, namely NEPA streamlining and the Supreme Court’s decision in

Sackett v. EPA, 598 U.S. 590 (2023), to which Plaintiffs have not had the ability to respond.

Dkt. 107 at 16. As to organizational standing based on access to courts, Florida now contends

that Plaintiffs “already” hire experts and so are not harmed by the State’s restrictive access to

courts. Id. at 19.

        As for member standing, Plaintiffs seek to respond to arguments based on Clapper v.

Amnesty International USA, 568 U.S. 398 (2013), that Florida makes for the first time on reply.

Dkt. 107 at 21–22. In Florida’s original filing, the State cited Clapper merely for the proposition

that speculation of future harm cannot support standing. See Dkt. 102 at 45.

        As to standing to challenge EPA’s approval of Florida’s enforcement program, Plaintiffs

seek leave to respond to Florida’s belated attempt to distinguish WildEarth Guardians v. Jewell,

738 F.3d 298 (D.C. Cir. 2013), Dkt. 107 at 24, after Plaintiffs pointed out they had failed to

address the case in response to Plaintiffs’ Motion, Dkt. 104 at 101, and to Florida’s

mischaracterization of the Court’s ruling in Mozilla Corp. v. FCC, 940 F.3d 1 (D.C. Cir. 2019),

Dkt. 107 at 24–25, in an attempt to distinguish it. Plaintiffs would also respond to Florida’s new

reliance on a Department of Justice manual, id. at 24, and the State’s exaggeration of EPA’s

oversight role as a stand-in for a state meeting minimum federal standards, id. at 23 n.15.

        Finally, as to ripeness, Plaintiffs seek to rebut Florida’s new, and false, assertions that:

(1) Plaintiffs failed to point to specific projects that show they are harmed by the ITS’ unlawful



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extension of take protection, Dkt. 107 at 25–28, and that (2) Plaintiffs argued their retained

waters claim falls into an exception to the ripeness doctrine, id. at 29. Plaintiffs also seek to

address Florida’s new argument regarding the purported relevance of Michigan’s process for

modifying the Corps’ retained waters list, id. at 29–30.

        Based on the foregoing, Plaintiffs respectfully request the opportunity to file a sur-reply

of no more than thirty (30) pages within seven (7) days of the Court’s granting of the motion.

        In accordance with LCvR 7(m), undersigned counsel certify that they conferred with

opposing counsel in a good faith effort to determine whether there is opposition to the motion.

The Federal Defendants and Florida advise that they oppose the motion for leave to file a sur-

reply. Counsel for EPA advises that the agency will review the attached document to determine

their position as to the request for the Court to consider it. Counsel for Florida similarly advises

that they will require additional time to ascertain their client's position as to the exhibit.

Dated: July 14, 2023

                                                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of July 2023, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



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